 

Case 4:14-cv-01360 Document 34 Filed in TXSD on 07/16/15 Page 1 of 1

IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF TEXAS
HOUSTON DIVISION
JAMES B. GOODMAN
Plaintiff,
v.

CIVIL ACTION NO. H-l4-l360

PATRIOT MEMORY, LLC,

WJWJWJWJWJ@WJWJWJ

Defendant.
ORDER OF DISMISSAL ON SETTLEMENT ANNOUNCEMENT

The Court has been informed that a settlement of this cause
of action has been reached. The case is DISMISSED without
prejudice to the right of the parties to move for reinstatement
within thirty (30) days after the entry of this order.

The Clerk will enter this Order and notify all parties.

SIGNED at Houston, Texas, on this lé§day of July 2015.

%WWM 9»

EWING WER% IN, JR.
UNITED ST% ES DISTRICT JUDGE

